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 5 Attorney for Kenneth Hernandez

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 8                                      UNITED STATES DISTRICT COURT

 9                                      EASTERN DISTRICT OF CALIFORNIA
10

11 UNITED STATES OF AMERICA,                      )   CASE NO. 1:11-CR-00188-LJO
                                                  )
12                                 Plaintiff,     )
                                                  )
13                                                )
     v.                                           )
14                                                )   STIPULATION AND ORDER
                                                  )   CONTINUING DATE FOR JUDGEMENT
15 KENNETH HERNANDEZ,                             )   AND SENTENCING
                                                  )
16                                 Defendant.     )
                                                  )
17 __________________________________             )

18          IT IS HEREBY STIPULATED by and between the parties hereto through their respective

19 counsel, Kimberly Sanchez, Assistant United States Attorney, attorney for plaintiff and Kyle Knapp,
20 attorney for defendant, KENNETH HERNANDEZ, that the current hearing date of September 30,

21 2013 be vacated and the matter be re-set for November 4, 2013 at 10:30 am. It is respectfully

22 asserted that additional time is needed to fully address and object to some issues revealed in the

23 Fifty-three page long presentence report and to provide further mitigation evidence to probation.

24 The presentence report was delivered to counsel on August 27, 2013. Defense counsel was in trial

25 for the first week that objections were to be formulated. The pre-sentence report contains a

26 tremendous amount of material that needs to be rebutted, in addition, because of my trial schedule
27 I was unable to meet and confer with my client and get him transported from Bakersfield to Fresno.

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                              It is respectfully requested that due to the trial schedules of both the prosecution and the
 1 defense in October that the matter be re-set with a revised briefing schedule. Expressly, that the

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     Informal Objections be due to the government and probation on October 14, 2013; final PSR due on
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     October 21, 2013; and the Formal Objections be filed with the court and served on probation no
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 5 later than October 28, 2013.

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 8 Dated: September 6, 2013                                                      Respectfully submitted.
 9                                                                                 /s/ Kyle R. Knapp
                                                                                 Kyle R. Knapp
10                                                                               Attorney for Defendant, Kenneth
                                                                                 Hernandez
11
     Dated: September 6, 2013                                                    Respectfully submitted.
12
                                                                                   /s/ Kimberly Sanchez
13                                                                               Kimberly Sanchez
                                                                                 Assistant U.S. Attorney
14                                                                               Attorney for Plaintiff
15
                                                                      ORDER
16
                              GOOD CAUSE APPEARING, and pursuant to the stipulation of the parties, the September 30,
17
     2013 hearing is vacated and the matter is re-set for judgment and sentencing on November 4, 2013.
18
                Further, that Informal Objections are due by October 14, 2013 and the formal objections be filed
19
     and served no later than October 28, 2013.
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22 IT IS SO ORDERED.

23
                           Dated:   September 6, 2013                         /s/ Lawrence J. O’Neill
24   DEAC_Signature-END:
                                                                         UNITED STATES DISTRICT JUDGE

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